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 6                         UNITED STATES DISTRICT COURT
 7
                          CENTRAL DISTRICT OF CALIFORNIA
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     KENNETH DANIEL HOWE,                      CASE NO. 2:19-CV-03329-VEB
10                                    )
11            Plaintiff,              )
     vs.                              )
12
                                      ) ORDER AWARDING
13   ANDREW SAUL,                     ) EAJA ATTORNEYS’ FEES
14                                    )
     Commissioner of Social Security, )
15                                    )
16           Defendant.               )
     _______________________________ )
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19         Based upon the parties’ Stipulation for Award of EAJA Fees, IT IS ORDERED
20   that attorneys’ fees and expenses in the amount of $6,000.00, as authorized by 28
21   U.S.C. § 2412, and costs in the amount of $0 as authorized by 28 U.S.C. § 1920, be
22   awarded subject to the terms of the Stipulation.
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24
           DATED this 20th day of October, 2020
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26
                                            /s/Victor E. Bianchini
27                                          VICTOR E. BIANCHINI
28                                          UNITED STATES MAGISTRATE JUDGE
